UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF TENNESSEE
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Dr. Regina Jordan-Sodigq, Plaintiff, v. State of Tennessee, et al., Defendants, es bios fe : A Do

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Case No. 3:25-CV-00288 Judge Eli Richardson Jury Demand

PLAINTIFF’S RESPONSE TO NAVY FEDERAL CREDIT UNION’S MOTION TO
DISMISS

Introduction Plaintiff, Dr. Regina Jordan-Sodigq, respectfully submits this response opposing
Defendant Navy Federal Credit Union's ("Navy") Motion to Dismiss. Plaintiff addresses each of
Navy’s contentions systematically to demonstrate the sufficiency of her claims, the
appropriateness of the court’s jurisdiction, and the adequacy of her service of process. Plaintiff
further objects to Navy’s request for dismissal with prejudice, which is unwarranted under both
law and equity. Plaintiff respectfully requests this Honorable Court deny Defendant’s motion.

It is noteworthy that Katherine Rogers, representing Navy Federal Credit Union, also serves as
legal counsel for Defendant Fifth Third Bank, which raises procedural and representational
nuances relevant to this case.

I. Service of Process Plaintiff asserts that service was properly executed in compliance with
Tenn. R. Civ, P. 4.03(2) and 4.04(4). Plaintiff served process to Navy Federal Credit Union’s
registered agent in Tennessee, The Corporation Service Company, located at 265 Brookview
Centre Way, Suite 203, Knoxville, TN 37919. Evidence of service includes confirmation
request receipts, proof of mailing, return on service of summons by mail (Exhibit C), USPS
summon receipts (Exhibit D #1 and #2), USPS receipts (#9410 8310 0935 5003 0010 04 and
#9410 8301 0935 5003 3651 51; Exhibits E] and E2), and Affidavit, Notice of Service, and
Certificate of Service. Enclosed are Plaintiffs responses dated March 14, 2025 (Exhibit A), and
April 3, 2025 (Exhibit B).

Defendant’s allegations regarding service lack merit and do not justify dismissal under Rule

12(b)(5).
1. Good Faith and Diligence

¢ Plaintiff acted in good faith throughout the service process and promptly addressed any
confusion regarding Defendant’s registered service address and jurisdictional transitions.
Plaintiff respectfully requests the Court’s discretion in recognizing these efforts.

e Any perceived delay in service resulted from confusion regarding Defendant’ s registered
service address and jurisdictional transitions upon case removal. Plaintiff acted promptly
to address these challenges and confirms that corrected service efforts are now underway
to eliminate any outstanding procedural deficiencies.

2. Affidavit of Service Plaintiff includes her sworn affidavit attesting to the steps taken to serve
Defendant within the required timeframe.

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3. Request for Clarification To prevent future procedural issues, Plaintiff respectfully requests
that Defendant specify the precise location designated for service of process to eliminate
ambiguity and delays.

Should this Honorable Court find any procedural deficiencies in service, Plaintiff respectfully
requests leave to correct such deficiencies pursuant to Fed. R. Civ. P. Rule 4(m), which permits
time to cure errors in service.

Hl. Specificity in Claims Contrary to Navy’s assertions, Plaintiffs Complaint provides sufficient
factual allegations to state a claim against Navy. Plaintiff specifically identifies Navy’s role in
acts of harassment and covert gang-stalking that caused harm to Plaintiff, distinguishing Navy’s
actions from those of other defendants.

Evidence supporting Plaintiff's claims includes Exhibit ‘C,’ a Navy Federal Credit Union
brochure addressed to “Mr. Joshua A. Graves” at 1757 Autumnwood Blvd, Clarksville, TN
37042, received on April 10, 2025. Plaintiff is the sole owner of this property, purchased as a
new dwelling in 2014. Additionally, Plaintiff has been a member of Navy Federal Credit Union
since 1994, as demonstrated in Exhibit ‘D.’ Navy Federal Credit Union maintains accurate
records of its members’ identities and addresses, confirming that the designation of “Mr. Joshua
A. Graves” is fictitious.

Plaintiff asserts that this falsification was a deliberate act by the defendants to harass, intimidate,
and engage in coordinated gang-stalking against Plaintiff.

Plaintiff's allegations comply with Tenn. R. Civ. P. 8.01, requiring a “short and plain statement
of the claim showing that the pleader is entitled to relief.” Furthermore, Tennessee courts
recognize the need for leniency in construing pro se pleadings to ensure access to justice (Steele
v. Bradley, 684 S.W.2d 375, Tenn. App. 1984).

If. Legal Basis for Claims Defendant argues that Tenn. Code Ann. §39-17-308 and §39-17-315
do not provide private rights of action. Plaintiff counters that while these statutes are criminal in
nature, the conduct described—harassment and stalking—provides grounds for related civil
claims under tort law, such as intentional infliction of emotional distress (ITED) and invasion of
privacy. Plaintiff reserves the right to pursue additional claims addressing the harmful and
unlawful actions of Navy.

Moreover, Plaintiff notes that Navy’s conduct falls under actionable civil claims, and further
discovery will substantiate these allegations.

IV. Conspiracy Allegations Defendant contends that Plaintiffs conspiracy allegations lack
particularity. Plaintiff clarifies that under Tennessee law, a conspiracy claim requires:

1. Common Design: An agreement among defendants to engage in harassment and
intimidation.

2. Concerted Actions: Coordinated activities by Navy and others to achieve unlawful
objectives.

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NOTICE OF SERVICE To: Katherine R. Rogers Burr & Forman, LLP, 222 2nd Avenue
South, Suite 2000, Nashville, TN 37201; krogers@burr.com. And The Corporation Service
Company, 265 Brookview Centre Way, Suite 203, Knoxville, TN 37919.

Plaintiff Dr. Regina Jordan-Sodiq hereby provides notice to the Court and opposing counsel of
service of the attached Response to Navy Federal Credit Union’s Motion to Dismiss, along with
related exhibits. Service of the attached documents has been completed via:

1. USPS Certified Mail with confirmation receipt requested, sent on April , 2025.
2. Email Delivery to the email address on record: krogers@burr.com.

Enclosed within this filing are Plaintiffs responses dated March 14, 2025, and April 3, 2025,
along with subsequent affidavit attesting to compliance with Tennessee Rules of Civil Procedure.
Supporting documents, including return receipts and USPS mailing records, are attached for
verification.

AFFIDAVIT OF SERVICE I, Dr. Regina Jordan-Sodigq, being duly sworn, declare as follows:

1. Service of Process Compliance: On April , 2025, I affirm that the Complaint and
Summons were properly served on Navy Federal Credit Union via their registered agent,
The Corporation Service Company, located at 265 Brookview Centre Way, Suite 203,
Knoxville, TN 37919.

2. Certified Mail with Confirmation Receipts: A confirmation receipt request to verify
delivery has been retained as proof of service.

3. Certificate of Service: I certify that a true and correct copy of the foregoing document
was mailed and emailed to Katherine R. Rogers, Burr & Forman LLP, and Navy Federal
Credit Union’s registered agent on April , 2025.

4. Compliance with Tennessee Law: | affirm that this

Date: April) 23035 STATE OF TENNESSEE

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